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        8
            Attorneys for Defendant
            HENRY CHUNG
        9
                                   UNITED STATES DISTRICT COURT
    10
                                 CENTRAL DISTRICT OF CALIFORNIA
    11
            LUBBY HOLDINGS LLC, a Delaware                 No. 2:18-cv-00715-RGK-JC
    12      limited liability company; VAPOROUS
    13      TECHNOLOGIES, INC., a Delaware                 DEFENDANT HENRY CHUNG’S
            corporation;                                   Objection to Plaintiffs’ Filing of
    14                                                     Computation of Damages, ECF #62
    15                           Plaintiffs,

    16          vs.
    17
            HENRY CHUNG, an individual; MING
    18      CHEN, an individual; DEEPVAPES,
    19
            INC., a California Corporation d/b/a
            BOOM VAPORIZER; DOES 1-10,
    20      inclusive,                                     Hon. R. Gary Klausner
    21
                                 Defendants.
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                Defendant objected to Plaintiff’s filing of computation of damages
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            (“Computation”), filed/served as ECF #62, as stated below:
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                  DEFENDANT CHUNG’S Objection to Plaintiffs’ Computation of Damages (ECF #62)

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                A. Proper damages computation supported by laws and facts
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        3      1. There was no infringement before 9/5/2017. The ‘284 Patent was filed on
        4         8/31/2016 and issued on 9/5/2017. As such, if Plaintiffs satisfied the section
        5         287 “notice/marking” requirement on the first day of patent issuance,
        6         Plaintiffs might have a damages claims over 8,689 units of “infringing”
        7         products, having dollar amount of $42,284.30. See Exhibit A attached to
        8         counsel declaration.
        9      2. Plaintiffs stated, in response to interrogatories, that they complied with the
    10            section 287 “notice/marking” requirement: “Plaintiff’s online store
    11            references US Patent protection with each product”. See Exhibit B attached
    12            to counsel declaration.
    13         3. Plaintiffs produced only one page of web document (P-026) that may be
    14            relevant to the section 287 “notice/marking” requirement. It can be seen that
    15            Plaintiffs did not comply. See Exhibit C attached to counsel declaration.
    16         4. This court is familiar with the requirements of section 287 “notice/marking”.
    17            Brief excepts are attached in Exhibit D attached to counsel declaration.
    18         5. Defense counsel gave reminder to Plaintiffs’ counsel that the ordered
    19            computation of damages filed should be warranted by existing law, not for
    20            improper purpose, and supported by the discovery production in this case.
    21            See Exhibit E attached to counsel declaration.
    22         6. The damages, if infringement is proven, can only be based upon 408 units,
    23            with a total dollar amount of $1,986.46. See ¶¶7-8 of counsel declaration.
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                 DEFENDANT CHUNG’S Objection to Plaintiffs’ Computation of Damages (ECF #62)

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                B. Plaintiffs’ baseless damages Computation is in violation of Rule 11
        3       1. Plaintiffs’ Lost Profit computation is baseless
        4          a. As already explained in Defendant’s LR 16-10 Trial Brief (ECF #59),
        5              there is no discovery production to support any claimed Lost Profit.
        6          b. None of the figures of $16.50, $5.50, 62%, 38%, or the lump sums of
        7              $248,611, $547,154, $795,765 were ever produced or disclosed.
        8          c. Plaintiffs completely ignored the 284 Patent was issued on 9/5/2017
        9              and that they failed to satisfy the section 287 notice/marking
    10                 requirement.
    11          2. Plaintiffs’ Reasonable Royalty computation is baseless
    12             a. As already explained in Defendant’s ECF #59 Trail Brief, Plaintiffs had
    13                 no documentary support/analysis to satisfy their reasonable royalty
    14                 claims.
    15             b. None of the figures of $45, $5.50, or 60% royalty rate, or the lump
    16                 sum of $623,346.30, were ever produced or disclosed.
    17             c. Plaintiffs completely ignored the 284 Patent was issued on 9/5/2017
    18                 and that they failed to satisfy the section 287 notice/marking

    19                 requirement.

    20          3. Plaintiffs are asking for expert fees that they did not pay. Plaintiff’s expert

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                   made express representation that the expert’s work was free. (“I do not

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                   receive compensation for my time spent on this matter and will not be

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                   further compensated regardless the outcome of the case”; bottom of page 1
                   of expert report.)
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                 DEFENDANT CHUNG’S Objection to Plaintiffs’ Computation of Damages (ECF #62)

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                Defendant Chung objected to Plaintiffs’ Computation because it is not
        3   warranted by existing law and not supported by the discovery production in this
        4   case, and appears to serve improper, and undisclosed, purposes.
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        7                                                     LT PACIFIC LAW GROUP LLP
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            Dated: May 6, 2019
                                                              /s/Jen-Feng Lee
        9                                              By:
    10
                                                              Jen-Feng (Jeff) Lee
                                                              Kenneth Tanji, Jr.
    11                                                        Attorneys for Defendant, Henry Chung
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                  DEFENDANT CHUNG’S Objection to Plaintiffs’ Computation of Damages (ECF #62)

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        2                                   PROOF OF SERVICE
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                   The undersigned certifies that the foregoing document, DEFENDANT
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            Henry Chung’s Objection to Plaintiffs’ Computation of Damages, ECF #62,
        5
            was filed electronically in compliance with Local Rule 5 – 3.3 and Federal Rules of
        6
            Civil Procedure. As such, this document was served on all counsel deemed to have
        7
            consented to electronic service. Local Rule 5 – 4.1.3.All other counsel of record or
        8
            per se parties not deemed to have consented to electronic service were served with
        9
            a true and correct copy of the foregoing by U.S. Mail, as identified below:
    10

    11             NONE.
    12

    13      On this 6th Day of May, 2019.
    14
                                                       /s/Jen-Feng Lee__________
    15                                                 Jen-Feng Lee
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                  DEFENDANT CHUNG’S Objection to Plaintiffs’ Computation of Damages (ECF #62)

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